                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA
                             File No. 1:12-CV-1349


UNITED STATES OF AMERICA,            )
          Plaintiff,                 )
                                     )
                    v.               ) CERTIFICATE OF SERVICE
                                     )
TERRY S. JOHNSON, in his official    )
capacity as Alamance County Sheriff, )
              Defendant.             )
_____________________________________________________________________

       I, S. C. Kitchen, hereby certify that on October 8, 2013, I filed Exhibit B – E-mail

and Exhibit C – Letter under seal with the U.S. District Court’s electronic Filing (ECF)

system, and further that I served a copy of the foregoing documents on the counsel in this

action by e-mail:


       Michael Songer
       U. S. Department of Justice
       950 Pennsylvania Ave., N.W.
       Washington, DC 20530
       Email: Michael.Songer@usdoj.gov

       Aaron S. Fleisher
       U. S. Department of Justice
       950 Pennsylvania Ave., N.W.
       Washington, DC 20530
       Email: aaron.fleisher@usdoj.gov




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This the 9th day of October, 2013.


                                           Turrentine Law Firm, PLLC


                                           by: /s/ S. C. Kitchen
                                           S. C. Kitchen
                                           NC Bar No. 9309
                                           920-B Paverstone Dr.
                                           Raleigh, NC 27615
                                           Telephone: (888) 308-3708
                                           Fax:           (888) 308-3614
                                           Email: ckitchen@turrentinelaw.com




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